               Case 6:24-mj-01051-DCI Document 2 Filed 01/18/24 Page 1 of 1 PageID 9




                                UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION

 UNITED STATES OF AMERICA

 VS.                                                             CASE NO: 6:24-mj-1051-DCI

 ALEXANDER GLENN ROSS


                                                                                                   AUSA: Kara Wick

                                                       Defense Attorney: Joshua Lukman, Federal Public Defender

JUDGE:           DANIEL C. IRICK                     DATE AND TIME:                                   January 18, 2024
                 United States Magistrate Judge                                                   1:46 P.M. – 2:07 P.M.

Courtroom:       5C                                  TOTAL TIME:                                              21 minutes

DEPUTY           T. Palmer                           REPORTER:                                                  Digital
CLERK:                                                                     https://www.flmd.uscourts.gov/webforms/di
                                                                                                       gital-recording-
                                                                                               transcript-request-form
INTERPRETER:     None                                PRETRIAL/PROB:                                     Sofia Kollaian


                                                CLERK’S MINUTES
                                          INITIAL APPEARANCE - RULE 5C

 Case called, appearances made, procedural setting by the Court.
 Court advises defendant of the allegations in the indictment.
 Defendant makes ore tenus motion for court appointed counsel. Motion granted. Court appoints FPD for proceedings in
 the MDFL.
 Defendant waives rule 5 hearings.
 Government makes ore tenus motion for release.
 Motion for release granted. Order setting conditions of release to enter.
 Case is removed to the Eastern District of Tennessee.
 Court adjourned.




                                                     Page 1 of 1
